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     Pro Se 15 2016                                                                Hon. Richard A. Jones


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                           IN THE UNITED STATES DISTRICT COURT FOR THE
 6
                           WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 7

 8       ABHIJIT BAGAL, an individual,                        Civil Action No. 2:23-cv-00721-RAJ

 9                                Plaintiff,                  Action Filed: May 11, 2023
                      v.
10                                                            Judge: Hon. Richard A. Jones
         KSHAMA SAWANT, in her official
11       and individual capacities as                         DECLARATION OF ABHIJIT
         Councilmember, District 3, of the                    BAGAL IN SUPPORT OF
12       Seattle City Council;                                PLAINTIFF’S REQUEST FOR
         LISA HERBOLD, in her official and                    JUDICIAL NOTICE AND
13       individual capacities as                             PLAINTIFF’S OPPOSITION
         Councilmember, District 1, of the                    TO DEFENDANTS’ MOTION
14       Seattle City Council; and                            TO DISMISS UNDER FRCP
         BRUCE HARRELL, in his official and                   12(b)(1) and 12(b)(6)
15       individual capacities as the Mayor of
         the City of Seattle,
16
                                  Defendants.
17

18
              I, ABHIJIT BAGAL, being familiar with the facts set forth herein based on my personal
19
     knowledge, and being competent to testify, hereby declare under penalty of perjury that the
20
     following is true and correct:
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          1. I am the Plaintiff, Pro Se in the above-captioned matter.
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     DECLARATION OF ABHIJIT BAGAL IN SUPPORT OF PLAINTIFF’S RJN AND PLAINTIFF’S OPPOSITION TO DEFENDATS’ MTD - 1
     2:23-CV-00721-RAJ                                                           ABHIJIT BAGAL, PLAINTIFF, PRO SE
               Case 2:23-cv-00721-RAJ Document 15 Filed 08/02/23 Page 2 of 8
     Pro Se 15 2016                                                                Hon. Richard A. Jones


 1        2. I make this declaration in support of Plaintiff’s concurrently filed Opposition to

 2            Defendants’ Motion to Dismiss under FRCP 12(b)(1) and 12(b)(6) and Plaintiff’s

 3            Request for Judicial Notice.

 4        3. On July 21, 2023, I met and conferred by phone with Assistant City Attorney Kerala T.

 5            Cowart representing Defendants in this matter where I indicated that I wanted to proceed

 6            with the lawsuit.

 7        4. On July 31, 2023, I had an email exchange with Assistant City Attorney Kerala T.

 8            Cowart where I indicated that on August 2, 2023, I will be filing my Opposition to

 9            Defendants Motion to Dismiss under FRCP 12(b)(1) and 12(b)(6).

10        5. On August 2, 2023, I personally accessed the official webpage of the Seattle City

11            Clerk’s Office for Council Bill CB 120511 containing all details of the “caste”

12            ordinance. Under the “Documents and Supporting Research” section, I opened the

13            document titled “Equality Labs, Caste in the United States, (2018)” and did a search for

14            “vegetarian” that resulted in 20 matches. I then went to the third match on page 23

15            where it stated that “Upper’ Caste Hindus are often vegetarian…” and displayed a

16            picture (Figure 14) showing the link between vegetarianism and caste. The entire report

17            can be found at this link: http://clerk.seattle.gov/~cfpics/cf_322573f.pdf A true and

18            correct copy of page 23 of the above document is attached hereto as Exhibit A.

19        6. On August 2, 2023, I personally accessed the official PACER System and downloaded

20            the Order on Motion for Judgement on the Pleadings (ECF No. 102) for 2:22-cv-07550-

21            RGK-MAA Sunil Kumar, Ph. D. et al v. Dr. Jolene Koester et al (C.D. Cal. Jul 25,

22            2023). A true and correct copy of this document is attached hereto as Exhibit B.

23        7. On August 2, 2023, I personally accessed the Official Facebook page of Councilmember

24            Kshama Sawant, then clicked on “Upcoming event” which opened a webpage for a

25
     DECLARATION OF ABHIJIT BAGAL IN SUPPORT OF PLAINTIFF’S RJN AND PLAINTIFF’S OPPOSITION TO DEFENDATS’ MTD - 2
     2:23-CV-00721-RAJ                                                           ABHIJIT BAGAL, PLAINTIFF, PRO SE
               Case 2:23-cv-00721-RAJ Document 15 Filed 08/02/23 Page 3 of 8
     Pro Se 15 2016                                                                Hon. Richard A. Jones


 1            Public Hearing event by Councilmember Kshama Sawant on September 21, 2023, at

 2            Seattle City Hall titled “Public Hearing: Speak Out About Caste & Anti-Muslim

 3            Discrimination”. A true and correct copy of this document is attached hereto as

 4            Exhibit C.

 5        8. On August 2, 2023, I personally accessed the official webpage of Coalition of Hindus of

 6            North America (CoHNA) and clicked on “New Survey…” under “NEWS” which

 7            opened the caste survey highlighting deeply entrenched biases - most Americans

 8            associate caste with India (and therefore Hinduism) and believe that there are only four

 9            castes. A true and correct copy of this document is attached hereto as Exhibit D.

10        9. On August 2, 2023, I personally accessed the official webpage of the Seattle City

11            Clerk’s Office for Council Bill CB 120511 containing all details of the “caste”

12            ordinance. Under the “Documents and Supporting Research” I looked at all the

13            documents and verified that they all link caste with Hinduism, India, and South Asia. I

14            also confirmed that not one single document in this list covers any other part of the

15            world other than South Asia. A true and correct copy of the list of above documents is

16            attached hereto as Exhibit E.

17        10. On August 2, 2023, I personally accessed the official webpage of the Seattle City

18            Council and opened the News Release dated January 24, 2023, by Councilmember

19            Kshama Sawant which stated that “With over 167,000 people from South Asia living in

20            Washington, largely concentrated in the Greater Seattle area, the region must address

21            caste discrimination, and not allow it to remain invisible and unaddressed.” A true and

22            correct copy of this document is attached hereto as Exhibit F.

23        11. On August 2, 2023, I personally accessed the Official Facebook page of Councilmember

24            Kshama Sawant, then clicked on “Upcoming event” which opened a webpage for a

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     DECLARATION OF ABHIJIT BAGAL IN SUPPORT OF PLAINTIFF’S RJN AND PLAINTIFF’S OPPOSITION TO DEFENDATS’ MTD - 3
     2:23-CV-00721-RAJ                                                           ABHIJIT BAGAL, PLAINTIFF, PRO SE
               Case 2:23-cv-00721-RAJ Document 15 Filed 08/02/23 Page 4 of 8
     Pro Se 15 2016                                                                Hon. Richard A. Jones


 1            Public Hearing by Councilmember Kshama Sawant on September 21, 2023, at Seattle

 2            City Hall titled “Public Hearing: Speak Out About Caste & Anti-Muslim

 3            Discrimination”. In the Details section, I then clicked on the link under “Please share

 4            your testimonials here:” which took me to a Google Document Titled “Have you

 5            experienced discrimination based on your caste or Muslim identity in the workplace, in

 6            housing, or at school in Washington state?” on a Letterhead containing names of

 7            Councilmember Kshama Sawant, Indian American Muslim Council, Socialist

 8            Alternative, Workers Strike Back, and Coalition of Seattle Indians. A true and correct

 9            copy of this document is attached hereto as Exhibit G.

10        12. On August 2, 2023, I personally accessed the official webpage of the Seattle City

11            Clerk’s Office for Council Bill CB 120511 containing all details of the “caste”

12            ordinance. Under the “Documents and Supporting Research” section, I opened the

13            document titled “Email from Suresh Krishnamoorthy, Coalition of Hindus of North

14            America, Councilwoman Kshama Sawant comments about CoHNA” which opened an

15            email from CoHNA stating that Councilmember Kshama Sawant has labeled CoHNA as

16            “extremely right wing and extremely aligned with the regime that is currently in power

17            in India.” A true and correct copy of this document is attached hereto as Exhibit H.

18        13. On August 2, 2023, I personally accessed the Official Seattle City Council webpage of

19            Councilmember Kshama Sawant, then clicked on “Previous entries” at the bottom of the

20            page. I then clicked on the link titled “My letter to Rep. Pramila Jayapal: Support our

21            fight to make Seattle the first city to ban caste discrimination” which opened the letter

22            stating that “CoHNA has extremely right-wing agendas.” A true and correct copy of this

23            document is attached hereto as Exhibit I.

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     DECLARATION OF ABHIJIT BAGAL IN SUPPORT OF PLAINTIFF’S RJN AND PLAINTIFF’S OPPOSITION TO DEFENDATS’ MTD - 4
     2:23-CV-00721-RAJ                                                           ABHIJIT BAGAL, PLAINTIFF, PRO SE
               Case 2:23-cv-00721-RAJ Document 15 Filed 08/02/23 Page 5 of 8
     Pro Se 15 2016                                                                Hon. Richard A. Jones


 1        14. On August 2, 2023, I personally accessed the official webpage of the Seattle City

 2            Council and opened the News Release dated February 4, 2023, by Councilmember

 3            Kshama Sawant which quoted Thenmozhi Soundarajan, Executive Director of Equality

 4            Labs as saying “Seattle is leading the moral consensus in the global outcry against the

 5            CAA. When genocidal campaigns begin, one important intervention is international

 6            condemnation, and the Seattle community feels a deep sense of solidarity with their

 7            electeds, as the time to stand against the Indian government’s Islamophobic policies is

 8            now,” and ““These genocidal projects happen in the shadows and this resolution

 9            highlights the significance of Seattle City Council standing up for South Asian

10            minorities, Muslims, and caste oppressed communities.” A true and correct copy of this

11            document is attached hereto as Exhibit J.

12        15. On August 2, 2023, I personally accessed the official webpage of Social Science

13            Research Network (SSRN) and downloaded the paper titled “Stigmatic Harm and

14            Standing.” A true and correct copy of this document is attached hereto as Exhibit K.

15        16. On August 2, 2023, I personally accessed the Official Seattle City Council webpage of

16            Councilmember Kshama Sawant, then clicked on “Previous entries” at the bottom of the

17            page. I then clicked on the link titled “My letter to Rep. Pramila Jayapal: Support our

18            fight to make Seattle the first city to ban caste discrimination” which opened the letter.

19            In the letter, I clicked on the link “Frequently Asked Questions” which then opened a

20            Document on Official Letterhead of Councilmember Kshama Sawant describing Hindu-

21            Americans as “right wing”. A true and correct copy of this document is attached hereto

22            as Exhibit L.

23        17. On August 2, 2023, I personally accessed the Official webpage of Seattle Office for

24            Civil Rights. I then clicked on “Civil Rights Enforcement”, then “New Laws and

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     DECLARATION OF ABHIJIT BAGAL IN SUPPORT OF PLAINTIFF’S RJN AND PLAINTIFF’S OPPOSITION TO DEFENDATS’ MTD - 5
     2:23-CV-00721-RAJ                                                           ABHIJIT BAGAL, PLAINTIFF, PRO SE
               Case 2:23-cv-00721-RAJ Document 15 Filed 08/02/23 Page 6 of 8
     Pro Se 15 2016                                                                Hon. Richard A. Jones


 1            Amendments”, then “Caste”. This opened the definition of caste stating that “Caste is a

 2            system of rigid social stratification characterized by hereditary status, endogamy, and

 3            social barriers sanctioned by custom, law, or religion.” A true and correct copy of this

 4            document is attached hereto as Exhibit M.

 5        18. On August 2, 2023, I personally accessed the official webpage of the Seattle City

 6            Clerk’s Office for Council Bill CB 120511 containing all details of the “caste”

 7            ordinance. I then clicked on the tab titled “4. Central Staff Memo” which opened a

 8            Memorandum to Seattle City Council from Asha Venkataraman, Analyst/Central Staff

 9            dated February 16, 2023, providing background information on protected classes and

10            caste as defined by the Merriam-Webster dictionary. A true and correct copy of this

11            document is attached hereto as Exhibit N.

12        19. On August 2, 2023, I personally accessed the official webpage of Merriam Webster

13            Dictionary and searched using the term “Caste.” This resulted in a webpage showing

14            four definitions of caste, the primary and first definition being “one of the hereditary

15            social classes in Hinduism that restrict the occupation of their members and their

16            association with the members of other castes.” A true and correct copy of this document

17            is attached hereto as Exhibit O.

18        20. On August 2, 2023, I personally accessed the official webpage of Ministry of Social

19            Justice & Empowerment, Government of India, and clicked on “Scheduled Caste

20            Welfare”, then “List of Scheduled Castes”. This opened a webpage displaying lists of

21            different States of India, each having their own definition and classification of caste. A

22            true and correct copy of this document is attached hereto as Exhibit P.

23        21. On August 2, 2023, I personally accessed the official webpage of the Seattle City

24            Clerk’s Office for Council Bill CB 120511 containing all details of the “caste”

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     DECLARATION OF ABHIJIT BAGAL IN SUPPORT OF PLAINTIFF’S RJN AND PLAINTIFF’S OPPOSITION TO DEFENDATS’ MTD - 6
     2:23-CV-00721-RAJ                                                           ABHIJIT BAGAL, PLAINTIFF, PRO SE
               Case 2:23-cv-00721-RAJ Document 15 Filed 08/02/23 Page 7 of 8
     Pro Se 15 2016                                                                Hon. Richard A. Jones


 1            ordinance. Under the “Documents and Supporting Research” section, I opened the

 2            document titled “Ishisaka, Naomi, How India's caste system manifests in Seattle-area

 3            workplaces and beyond, Seattle Times, Feb. 20, 2023.” which opened a news article

 4            from Seattle Times titled “How India’s caste system manifests in Seattle…” and

 5            described it as “a hierarchical system dating back thousands of years… originated from

 6            Hinduism in India…”. A true and correct copy of this document is attached hereto as

 7            Exhibit Q.

 8        22. On June 25, 2023, I received an email from Councilmember Kshama Sawant titled

 9            “Defend California's proposed caste discrimination ban, following Seattle's historic

10            victory!” On August 2, 2023, I re-opened the email and clicked “View this email in

11            your browser” which opened another webpage. I then clicked “Past Issues” that opened

12            a list of emails from Councilmember Kshama Sawant from May 11, 2023, until July 31,

13            2023. From this list, I clicked on the link titled “05/23/2023 - Have you experienced

14            caste discrimination or Islamophobia? Share your story!” which opened an event about a

15            public hearing by Councilmember Kshama Sawant on September 21, 2023, at Seattle

16            City Hall stating that “Seattle’s ban against caste discrimination represents a rare

17            offensive victory for working people against the billionaire-backed, far-right Bharatiya

18            Janata Party (BJP) and Prime Minister Narendra Modi’s government in India, and a

19            model for how working people everywhere can fight the right wing. It’s no coincidence

20            that right-wing organizations like the Hindu American Foundation, which are aligned

21            with the BJP, strenuously opposed the Seattle ban on caste discrimination.” A true and

22            correct copy of these above documents is attached hereto as Exhibit R.

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     DECLARATION OF ABHIJIT BAGAL IN SUPPORT OF PLAINTIFF’S RJN AND PLAINTIFF’S OPPOSITION TO DEFENDATS’ MTD - 7
     2:23-CV-00721-RAJ                                                           ABHIJIT BAGAL, PLAINTIFF, PRO SE
                Case 2:23-cv-00721-RAJ Document 15 Filed 08/02/23 Page 8 of 8
     Pro Se 15 2016                                                                Hon. Richard A. Jones


 1        I declare under penalty of perjury that the foregoing is true and correct.

 2   DATED this 2nd day of August 2023 at Morrisville, Wake County, North Carolina.

 3
     Signature:                               /s/ Abhijit Bagal
 4
     Printed Name:                            ABHIJIT BAGAL (Plaintiff, Pro Se)
 5
     Address:                                 125 Vista Brooke Drive, Morrisville, NC 27560
 6   Phone: (919) 917-3839                    Email: abebagal@gmail.com

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     DECLARATION OF ABHIJIT BAGAL IN SUPPORT OF PLAINTIFF’S RJN AND PLAINTIFF’S OPPOSITION TO DEFENDATS’ MTD - 8
     2:23-CV-00721-RAJ                                                           ABHIJIT BAGAL, PLAINTIFF, PRO SE
